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                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                 FORT SMITH DIVISION

UNITED STATES                                                                     PLAINTIFF

v.                                Case No. 2:14-CR-20031-002

AVIS VIRAVONGSA                                                                 DEFENDANT

                                           ORDER

       Currently before the Court is the report and recommendation (Doc. 56) filed in this case

on December 16, 2014 by the Honorable James R. Marschewski, Chief United States Magistrate

Judge for the Western District of Arkansas. Both parties have waived the right to object to the

report and recommendation for the purpose of expediting acceptance of the guilty plea in this

matter. (Doc. 54).

       The Court has reviewed this case and, being well and sufficiently advised, finds as

follows: the report and recommendation is proper and should be and hereby is ADOPTED IN

ITS ENTIRETY.

       Accordingly, for the reasons stated in the Magistrate Judge’s report and recommendation,

Defendant’s guilty plea is accepted, and the written plea agreement is tentatively approved,

subject to final approval at sentencing.

       IT IS SO ORDERED this 17th day of December, 2014.


                                                          /s/P. K. Holmes, III
                                                          P.K. HOLMES, III
                                                          CHIEF U.S. DISTRICT JUDGE
